 Case 98-02675-5-DMW                           Doc 8024 Filed 10/29/07 Entered 10/30/07 14:08:21   Page 1 of
                                                                1
                                                                                                    Claim No.: 015611
                                                                                                     Amount: $900.00




0001 0003395 00000000 001 001 03395 INS: 0 0

*770622013075*
MARY A. LEWIS
1207 BOULDERWOOD
HOUSTON, TX 77062




                                                                                                         D995915115DD
                                                                                                         D018045D57F8
                                                                                                         51A04C01C1C8
                                                                                                         5A831BAA840C
                                                                                                         FA2D8D5DB579
                                                                                                         5426E715F848
                                                                                                         5BC7286EA4B9
                                                                                                         F3195BE4B60C
                                                                                                         F2F076382D4C
                                                                                                         F02CD53F0579
                                                                                                         5EB2748241F8
                                                                                                         DDECDDDCDCCD
